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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                      )
CAUSE OF ACTION INSTITUTE,            )
                                      )
                       Plaintiff,     )
                  v.                  )       Civil Action No. 19-1915 (JEB)
                                      )
EXPORT-IMPORT BANK OF                 )
THE UNITED STATES,                    )
                                      )
                       Defendant.     )
                                      )

              ANSWER TO THE COMPLAINT FOR INJUNCTIVE RELIEF

       Defendant, EXPORT-IMPORT BANK OF THE UNITED STATES, by and through counsel,

hereby responds to Plaintiff CAUSE OF ACTION INSTITUTE’s Complaint for Injunctive Relief

(“Complaint”) as follows:

                                    AFFIRMATIVE DEFENSES

                                          FIRST DEFENSE

       Plaintiff’s Complaint fails to state a claim upon which relief may be granted.

                                      SECOND DEFENSE

       Plaintiff has not exhausted all administrative remedies.

                                          THIRD DEFENSE

       Exceptional circumstances exist and Defendant is exercising due diligence in responding

to the request.

                                       FOURTH DEFENSE

       Plaintiff refused to reasonably modify the scope of its requests or arrange an alternative

time frame for processing the request after being given an opportunity to do so by Defendant.
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                                        FIFTH DEFENSE

       The information requested in Plaintiff’s Freedom of Information Act (“FOIA”) request is

exempt from disclosure in whole or in part under the FOIA.

                   RESPONSES TO THE NUMBERED PARAGRAPHS1

       Defendant, Export-Import Bank of the United States, by and through the undersigned

Assistant U.S. Attorney, responds to the allegations in Plaintiff’s Complaint and hereby states as

follows:

1.     Defendant admits that Plaintiff is bringing this action under the Freedom of Information

       Act (“FOIA”) and that Plaintiff seeks disclosure of records purportedly maintained by

       Defendant but denies the remainder of paragraph 1.

                                JURISDICTION AND VENUE

2.     Paragraph 2 is a statement of jurisdiction to which no response is required, but to the

       extent that a response is required, Defendant denies paragraph 2.

3.     Paragraph 3 is a statement of venue to which no response is required, but to the extent

       that a response is required, Defendant denies paragraph 3.

                                            PARTIES

4.     Defendant is without knowledge or information sufficient to admit or deny the averments

       in paragraph 4, and therefore denies paragraph 4.




1
  Merely for ease of reference, Defendant replicates the headings contained in the Complaint.
Although Defendant believes that no response is required to such headings, to the extent a response
is deemed required and to the extent those headings and titles could be construed to contain factual
allegations, those allegations are denied.
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5.    Defendant admits that it is an agency within the meaning of 5 U.S.C. § 552(f)(l), but has

      not determined the truth of the remaining averments in paragraph 5, and therefore denies

      the remaining averments in paragraph 5.

                                                FACTS

I.    FOIA Request # 201800076F

6.    Defendant admits that Plaintiff emailed Defendant a FOIA request letter dated September

      20, 2018 and that the document attached as Exhibit 1 to the Complaint is a true copy of

      that request letter.

7.    Defendant admits that the document attached as Exhibit 1 to the Complaint is a true copy

      of the September 2018 FOIA request letter Defendant received from Plaintiff.

8.    Defendant admits CoA Institute sought a public interest fee waiver and to be classified as

      a member of the news media for fee purposes.

9.    Defendant admits that it assigned the September 2018 request tracking number

      201800077F and emailed Plaintiff acknowledgment of receipt on September 21, 2018.

10.   Defendant admits only that, as of the Complaint filing date, Defendant has not issued a

      final determination on Plaintiff’s FOIA request but Defendant denies that it has

      unlawfully withheld records from Plaintiff.

II.   FOIA Request # 201800047F

11.   Defendant admits that the document attached as Exhibit 3 to the Complaint is a truecopy

      of the May 2016 FOIA request letter Defendant received from Plaintiff.

12.   Defendant admits that Plaintiff emailed Defendant a separate FOIA letter request on

      May 24, 2019 and that Exhibit 3 to the Complaint is a true copy of that request letter.




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13.   Defendant admits CoA Institute sought a public interest fee waiver and to be classified as

      a member of the news media for fee purposes.

14.   Defendant admits that it assigned the May 24, 2019 request letter tracking number

      201900047F and emailed acknowledgment of receipt on the same day Defendant

      received the request letter.

15.    Defendant admits that it acknowledged Plaintiff’s request for a fee waiver and has not

      made a determination.

16.   Defendant admits that as of the Complaint filing date of June 26, 2019, Plaintiff had not

      received a final determination on or records responsive to the May 24, 2019 request.

                                             COUNT I

17.   Defendant repeats as though fully set forth herein all of the above paragraphs.

18.   Defendant admits that Plaintiff properly recites a portion of 5 U.S.C. § 552(a)(6);

      however, Defendant respectfully refers the Court to the full text of the statute and denies

      any allegation that is in consistent with that full text. .

19.   Defendant admits that more than 20 business days have passed since Defendant received

      FOIA requests # 201800076F and 201900047.

20.   Defendant admits that as of the Complaint filing date, Defendant had not provided a final

      determination on or produced records responsive to either of the requests.

21.   Paragraph 21 is a legal conclusion to which no response is required and, therefore,

      Defendant denies the same.

22.   Paragraph 22 is a legal conclusion to which no response is required and, therefore,

      Defendant denies the same.


Dated: August 1, 2019                  Respectfully submitted,

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                      JESSIE K. LIU, D.C. BAR NO. 472845
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                      DANIEL F. VANHORN, D.C. Bar No. 924092
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                   By: /s/ April Denise Seabrook
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